  Case 2:19-mj-00376-AYS Document 62 Filed 11/20/19 Page 1 of 2 PageID #: 335



UNITEDSTATESDIBTRICTCOURT
EASTERN DISTRICT OF NEW YORK
-----------------X
UNITED STATES OF AMERICA,
                                                           APPLICATION AND ORDER
                                                           OFEXCLUDABLEDELAY


;f/;IIMV.~                                                 CaseNo.      /(//11:J 37(;
------------------X
     Thf United States of Am~ca and the defendant hereby jointly request that the time period from
   I
 11 . ~ QJ_ fq
within which
                   to 3 IS I ~ Ol.-0       be excluded from the computation of the time period
                                                                            ·

        O~)      an information or indictment must be filed, or (XW)
        (   )    trial of the charges against the defendant must commence. (XC).

The parties seek the exclusion of the foregoing period because

                 they are engaged in plea negotiations, which they believe are likely to r~sult in a
                 disposition of this case without trial, and they require an exclusion of time in order to
                 focus efforts on plea negotiations without the risk that they would not, despite their
                 diligence, have reasonable time for effective preparation for trial,
        (   )    they need additional time to prepare for trial due to the complexity of the case,
        (   )



Co~~-


For defendant to r_(}ad, review with counsel, and ackn.owledge:

         l understand that federal law generally provides that I have a right to formal charges lodged
against me within thirty days of my arrest and a right to trial on those charges within seventy days after
formal charges have been lodged. I further understand that I do not have to consent to the exclusion of
time sought in this application and that, by consenting to entry of this order, the date on which formal
charges must be lodged will be delayed and the date for the commencement of any trial on those charges ·
will likely be delayed as well. I ·also unders~d that if formal charges are not brought against me within
the time required by law, I may seek relief from the court, and that this relief might include dismissal of
the complaint now pending against me.

        I have reviewed this application, as well as the or4er annexed below, and have discussed the
question of whether I should consent to entry of an order of excludable delay ·carefully with my attorney.
I consent to the entry of the order voluntarily and of my own free will. I have not been threatened or
coerced for my consent.                                   !-/        q
 it/0-0/ 17
Date
                                                         /~ -· ~"-
                                                           Defendant
  Case 2:19-mj-00376-AYS Document 62 Filed 11/20/19 Page 2 of 2 PageID #: 336



For Defendant's Counsel to read and acknowledge:
         I certify that I have reviewed this application and the attached order carefully with my client. I
further certify that I have discussed with my client a defendant's right to speedy trial/speedy filing of
information or indictment and the question of whether to consent to entry of an order of excludable delay.
I am satisfied that my client understands the consents of this application and the attached order, that my
client consents to the entry of the order voluntarily and of his or her own free will, and that my client has
not been threatened or coerced for consent.




                                  ORDER OF EXCLUDABLE DELAY


                       application of the United States of America and defendant
_ _:f......}..J~~!'.L~~~~--1--.-----' an,.! with the express written consent of the
                                                                rsJ?.
def~ndant, the time period from - . L l . ~ c . . : . & . ~ - - .to ;J. O is hereby excluded in computing
the time within which an information or indictDient must be filed, or a trial of the charges against
defendant must commence, as the Court finds that this exclusion of time serves the ends ofjustice and
outweighs the best interest of the public and the defendant in a speedy trial because

        (    ) . giv~ the reasonable· likelihood that ongoing plea negotiations will result in a disposition
                 of this case without trial, the exclusion of time will allow all counsel to focus their efforts
                 on plea negations without the risk that they would be denied the reasonable time
                 necessary for effective preparation for trial, taking into account the exercise of due
                 diligence.
         (   ) additional time is needed to prepare for trial due to the complexity of case.·
         (   )



SO ORDERED.




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Dated: Cen~ Islip, New York 'cj
                           2_0If                    United States Magistrate Judge
